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    EXHIBIT 2
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

---------------------------------x
SPARTA INSURANCE COMPANY                      :
(as successor in interest to Sparta Insurance
Holdings, Inc.),                              :

                      Plaintiff,                 :    Civil Action
                                                      No. 21-11205-FDS
       v.                                        :

PENNSYLVANIA GENERAL INSURANCE :
COMPANY (now known as Pennsylvania
Insurance Company),                :

               Defendant.        :
---------------------------------x

                   PLAINTIFF SPARTA INSURANCE COMPANY’S
                  NOTICE OF DEPOSITION OF STEVEN M. MENZIES

               PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, Plaintiff SPARTA Insurance Company (“SPARTA”) will take the deposition upon

oral examination of Steven M. Menzies at 10:00 a.m. CT on October 2, 2023, at the offices of

Lamson Dugan & Murray LLP, 10306 Regency Parkway Drive, Omaha, NE 68114, or as

otherwise agreed by the parties, before a notary public or other officer authorized by law to

administer oaths. The deposition will be recorded by audiovisual and stenographic means and

will continue from day to day until completed.

               You are invited to attend and cross-examine.
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Dated: September 1, 2023            Respectfully submitted,
       Boston, Massachusetts




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                                    Christopher G. Clark (BBO #663455)
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                                    Counsel for Plaintiff
                                    SPARTA Insurance Company




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                               CERTIFICATE OF SERVICE

               I hereby certify that on September 1, 2023, the foregoing document was served by
electronic mail pursuant to a written agreement between the parties upon:

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                                                   Christopher G. Clark




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